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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   NORTHERN DIVISION

 BRITTNEY GOBBLE PHOTOGRAPHY,
 LLC,
                                                     Case No. 1:18-cv-03403-SAG (Lead Case)
                   Plaintiff,
                                                     Case No. 1:18-cv-03384-SAG
            v.                                       Case No. 1:19-cv-00559-SAG
                                                     Case No. 1:19-cv-00606-SAG
 SINCLAIR BROADCAST GROUP, INC.,
 et al.,

                   Defendants/Third-Party
                   Plaintiffs,

            v.

 USA ENTERTAINMENT NEWS, INC.
 d/b/a “WENN” and “WORLD
 ENTERTAINMENT NEWS NETWORK”,

                   Third-Party Defendant.



                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


           Defendants, Sinclair Broadcast Group, Inc., et al., pursuant to Federal Rule of Civil

Procedure 56(a), hereby move this Court to enter summary judgment on all Counts of Plaintiff’s

Second Amended Complaint or, in the alternative, to enter partial summary judgment on Plaintiff’s

claims for willful infringement and DMCA violations, and Plaintiff’s claim to recover Defendants’

profits.




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Dated: August 27, 2021

                                    Respectfully submitted,


                                    /S/ Margaret L. Argent
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                                    Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 27th day of August, 2021, a copy of the foregoing

Motion for Summary Judgment was filed electronically. Notice of the filing will be sent to all

parties who have appeared by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

       I FURTHER HEREBY CERTIFY, that on the 30th day of August, 2021, I will cause a copy

of the foregoing motion to be served as follows on Third-Party Defendant USA Entertainment

News, Inc.:


 Via First Class U.S. Mail, Postage Prepaid         Via First Class Airmail, Postage Prepaid

 USA Entertainment News, Inc.                       USA Entertainment News, Inc.
 c/o Frankfurt Kurnit Klein & Selz, P.C.            c/o Lloyd Beiny, Registered Agent
 488 Madison Avenue, 10th Floor                     4A Tileyard Studios
 New York, NY 10022                                 Tileyard Road
 Attn: Mike Dolan                                   London N7 9AH
                                                    UNITED KINGDOM

Upon request, Sinclair will make the exhibits available to Third-Party Defendant USA
Entertainment News, Inc. via secure fileshare.

                                                       /s/
                                                      Margaret L. Argent




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